Case 2:10-cr-00016-JRG-RSP          Document 157        Filed 01/05/11     Page 1 of 2 PageID #:
                                           383



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 V.                                             §           CASE NO.2:10-CR-16-4 (TJW-CE)
                                                §
 LARRY WAYNE HILL                               §

              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

        On this day, the Court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Charles Everingham IV regarding defendant’s plea of guilty and allocution to

 Count 1 of an information charging the defendant with a violation of 18 U.S.C. § 4, misprision of

 a felony. Having conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Magistrate Judge recommends that the Court accept the defendant’s guilty plea. The parties

 waived their right to file objections to the Findings of Fact and Recommendation. The Court is of

 the opinion that the Findings of Fact and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge, filed December 17, 2010, are hereby ADOPTED.

        It is further ORDERED that, pursuant to defendant’s plea agreement, the Court finds

 defendant GUILTY of Count 1 of the information in the above-numbered cause.

        SIGNED this 5th day of January, 2011.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE
Case 2:10-cr-00016-JRG-RSP   Document 157   Filed 01/05/11   Page 2 of 2 PageID #:
                                    384




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